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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            DEL RIO DIVISION

UNITED STATES OF AMERICA                   §
                                           §
vs.                                        §     NO: DR:24-CR-00404(1)-AM
                                           §
(1) JEREMY SCOTT ALLRED                    §

                          AMENDED SCHEDULING ORDER

The Court makes the following amended schedule as to this defendant:

        The deadline for notifying the court of any plea agreement entered
        into by the parties in this cause is extended to Friday, June 7, 2024,
        No plea agreement entered into after the date shall be honored by this
        Court without good cause shown for the delay.

        Docket call and Rearraignment are reset for Tuesday, June 11, 2024
        at 9:00 a.m. before United States Chief District Judge Alia Moses,
        Federal Building-U.S. Courts, 111 East Broadway, 2nd Floor,
        Courtroom Number 1, Del Rio, Texas.

        Jury selection and trial are reset for Tuesday, June 18, 2024 at 9:00
        a.m. in the Courtroom of United States Chief District Judge Alia
        Moses, Federal Building-U.S. Courts, 111 East Broadway, 2nd Floor,
        Courtroom Number 1, Del Rio, Texas. Motions to Suppress will be
        heard immediately prior to the jury selection or will be carried with the
        trial unless otherwise ordered by this Court.

The Court finds that the period between May 14, 2024 through June 18, 2024 is a

reasonable period of necessary delay to allow counsel time for preparation for trial.

The Court further finds that the interest of justice served by taking this action

outweighs the best interest of the public and the defendant in a speedy trial, and

further finds that such period shall be excluded from the time which the defendant

must be brought to trial under the Speedy Trial Act pursuant to Title 18, United States

Code, Section 3161(h)(8).
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AS A REMINDER TO THE ATTORNEY FOR DEFENDANT: If your client is in custody,

arrangements should be made with the United States Marshal Service prior to date of

jury selection and trial to ensure your client has proper attire. In addition, whenever

defendants or witnesses have a need for the services of the court interpreter, please

notify Jeanette Mendoza, Courtroom Deputy for Chief Judge Moses (830) 703-3754,

no later than five (5) days before the court setting.


All exhibits shall be marked by counsel prior to jury selection.

       The Clerk of Court shall send a copy of this order to the United States Attorney,

attorney for the defendant, United States Marshal Service, United States Probation

Office and Pretrial Services Office. Counsel for defendant shall notify defendant of this

setting and, if defendant is on bond, advise the defendant that he/she must be present

for all court settings unless excused by the Court.

       IT IS SO ORDERED this 14th day of May, 2024.




                                             ______________________________
                                             ALIA MOSES
                                             CHIEF U.S. DISTRICT JUDGE
